Case 3:99-cv-01597-JAG Document 181 Filed 01/28/03 Page 1 of 3 W

 

%, BI
In The "4 | OY,
United States District Court = 2, Fos
Fov The District Of Puerto Rien, :
Sue a}
%y
JAMES YANNELLO, ET AL. >
Civit No. 99-1597 (JAG)
Plaintiffs
MATTER:
Vv.
Personal Injury, Medical
PATRIOT AMERICAN, ET AL. Malpractice and Damages
Defendants PLAINTIFF DEMANDS
TRIAL BY JURY

 

ORDER OF ATTACHMENT

Upon plaintiff's Motion for Writ of Execution and Attachment, it is hereby:
ORDERED that cash, checks, monies in banks or other institutions,

accounts receivable, promissory notes, stock, bonds, equipment, securities and any
other personal property of either “Palomino Watersports, Inc.” subject to
attachment, be attached, garnished, or seized to satisfy the balance owed on the
Settlement Agreement entered into by the parties by this Court in the above-
captioned matter, plus interest and costs, and the costs and attorney fees incurred

in the execution of this Writ of Attachment; it is further

 

ORDERED that the properties to be attached in compliance with this

Order consist of those designated by the plaintiff in the manner provided for by the

le :

 
Case 3:99-Cv-01597-JAG Document 181 Filed 01/28/03 Page 2 of 3

laws of Puerto Rico; it is further

ORDERED that the Clerk of this Court issue a Writ of Attachment,
without bond, since the relief'requested is subsequent to voluntarily entering into a
Settlement Agreement, directed to the U.S. Marshal, directing him to attach,
garnish or seize any or all merchandise, funds or other property of or in the
possession of “Palomino Watersports, Inc.” in an amount sufficient to satisfy the
outstanding Settlement Agreement in the above-captioned case, plus interest and
costs; in addition to the costs and attorney fees incurred in the attachment, as may
be designated by plaintiff, including property in the possession of other persons.
All such properties shall be seized and deposited into the Registry of the Court if
they be monies or if they be other personal property by placing the same under the
custody of the custodian named in this Order; and in the event of garnishment, by
giving notice of this Order to persons indebted to “Palomino Watersports, Inc.”
and requiring of them the surrender of the property or payment of the money to
the person designated in this Order to execute the Writ of Attachment, at the time
the obligation to “Palomino Watersports, Inc.” becomes due and payable. The
person designated to execute the Writ is hereby authorized to break and open
locks as may be necessary to execute the attachment; it is further

ORDERED that the designated executor of the Writ of Attachment
shall thereafter file a return of execution describing the property attached,

garnished or seized pursuant to this order; it is further
Case 3:99-cv-01597-JAG Document 181 Filed 01/28/03 Page 3 of 3

ORDERED that the custodian hereby appointed on request of plaintiff
and upon the responsibility shall be:

Mr. Herman Wirshing
United States Marshall
Federal Building
150 Carlos Chardon, Rm. 200
Hato Rey, Puerto Rico 00918

SO ORDERED

In San Juan, Puerto Rico, wagath “ier 2003.

 

 

 
